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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION

ANTHONY MAYS, individually and on                )
behalf of a class of similarly situated          )
persons; and JUDIA JACKSON, as next              )
friend of KENNETH FOSTER, individually           )
and on behalf of a class of similarly            )
situated persons,                                )
                                                 )
              Plaintiffs-Petitioners,            )
                                                 )
              vs.                                )       Case No. 20 C 2134
                                                 )
THOMAS DART,                                     )
                                                 )
              Defendant-Respondent.              )

                               PRELIMINARY INJUNCTION

       The Court, having found that the plaintiffs in this case have met the criteria for a

preliminary injunction with regard to at least parts of Count 1 of their complaint, issues

the following preliminary injunction directing the Sheriff of Cook County as follows

pending trial on the merits:

   •   The Sheriff shall maintain and carry out a policy requiring prompt coronavirus

       testing of: (1) detained persons who exhibit symptoms consistent with

       coronavirus disease, and (2) at medically appropriate times, detained persons

       who have been exposed to others who have exhibited those symptoms or have

       tested positive for coronavirus. With regard to the category (2), the Sheriff must

       acquire and maintain sufficient testing materials so that determination of the

       appropriateness of testing such persons is made pursuant to medical and public

       health considerations and not the availability of testing materials.

   •   The Sheriff shall enforce social distancing during the new detainee intake
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    process, including continued suspension of the use of bullpens and other

    multiple-person cells or enclosures to hold new detainees awaiting intake.

•   The Sheriff shall provide soap and/or hand sanitizer to all detainees in quantities

    sufficient to permit them to frequently clean their hands.

•   The Sheriff shall provide sanitation supplies sufficient and adequate to enable all

    staff and detainees to regularly sanitize surfaces and objects on which the virus

    could be present, including in all areas occupied or frequented by more than one

    person (such as two-person cells, as well as bathrooms, showers, and other

    surfaces in common areas). The Sheriff shall also maintain and carry out a

    policy requiring sanitization between all uses of frequently touched surfaces and

    objects as well as monitoring and supervision to ensure that such sanitization

    takes place regularly.

•   The Sheriff shall provide facemasks to all detained persons who are

    quarantined—i.e., those who have been exposed to a detained person who is

    symptomatic (even if not coronavirus-positive). The facemasks must be replaced

    at medically appropriate intervals, and the Sheriff must provide the users with

    instruction on how to use a facemask and the reasons for its use.

•   The Sheriff shall establish by no later than April 29, 2020 and shall put into effect

    by no later than May 1, 2020 a policy precluding group housing or double celling

    of detained persons, except in the following situations:

       o Persons detained in tiers or dormitories currently under quarantine

           following a positive test for the coronavirus within the tier or dormitory

           ("quarantine tiers");
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          o Detained persons who have tested positive for the coronavirus and are

              under medical observation ("isolation tiers");

          o Detained persons who have tested positive for coronavirus and are

              recovering ("convalescent tiers");

          o Double-celled or dormitory-housed detainees for whom there is a

              documented determination by a medical or mental health professional that

              single-celling poses a risk of suicide or self-harm;

          o Persons detained housed in a dormitory unit that is at less than fifty

              percent capacity; and

          o Detained persons committed, at the documented direction of a medical or

              mental health professional, to a group housing unit that is equipped for

              medical or mental health treatment, if but only if there is not available

              space in an appropriate housing or medical unit that permits full social

              distancing.

   •   Detained persons housed in any of the listed "acceptable" arrangements must be

       provided with facemasks that are replaced at medically appropriate intervals.

       The detained persons must be provided with instruction on how to use a

       facemask and the reasons for its use. They also must be instructed, at regular

       intervals, on the importance of social distancing.

   •   On May 1, 2020, the Sheriff shall file a report regarding his compliance with the

       terms of the preliminary injunction.

Date: April 27, 2020
                                                   ________________________________
                                                        MATTHEW F. KENNELLY
                                                        United States District Judge
